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      ~AO 2458 (CASD) (Rev. 1112)   Judgment in a Criminal Case
                Sheet I

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                                               UNITED STATES DISTRICT COURT. MAR -6 PM 5: 09
                                                   SOUTHERN DISTRICT OF CALIFORNIA                           _.        '
                                                                                                                           2
                                                                                                                                                    ~"T"!~"    •

                     UNITED STATES OF AMERICA                                      JUDGMENT IN A c~i~'~i§~uc' .
                                         v.                                        (For Offenses Committed On or After~ember 1, 1987)
                                                                                                                                                                   OEf'IJT c
             JUAN VALENTIN VALENCIA-JIMENEZ (01)                                   Case Number: 11CR5845-lJ~
                                                                                    Amy Kimpel FD s/a
                                                                                   Defendant's Attorney
     REGISTRATlO~ NO. 29937298

    o
    THE DEFENDANT:
     \81pleaded guilty to count(s) _T_w_o_o_f_th_e_In_d_ic_tm_e_nt_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea ofnot guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense( s):
                                                                                                                                                        Count
    Title & Section                           Nature ofOtTense                                                                                         Number(sl
8 USC 1324(a)(2)(B)(iii)              BRINGING IN ILLEGAL ALIEN WITHOUT PRESENTAnON                                                                           2




        The defendant is sentenced as provided in pages 2 through _ _.::2_ _ ofthis judgment. The sentence is imposed pursuant
  o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)
                                                          ----------------------------
  \81 Count(s) One, Three, Four, Five and Six of the Indictment  is 0 are \81 dismissed on the motion of the United States.
  181 Assessment: $100.00 Waived


  181 Fine waived                                   o Forfeiture pursuant to order filed ----------- , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               March 2, 2012




                                                                                                                                                              11CR5845-AJB
       Case 3:11-cr-05845-AJB                     Document 51             Filed 03/06/12    PageID.153          Page 2 of 2


AD 245B (CASD) (Rev 1/12) Judgment in a Criminal Case
           Sheet 2 -Imprisonment

                                                                                             Judgment   Page _ _2 _ of       2
 DEFENDANT: JUAN VALENTIN VALENCIA-JIMENEZ (01)
 CASE NUMBER: 11 CRS84S.AJB
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
        TIME SERVED



    D Sentence imposed pursuant to Title 8 USC Section 1326(b).
    D The court makes the following recommendations to the Bureau of Prisons:




    D The defendant is remanded to the custody of the United States MarshaL

    D The defendant shall surrender to the United States Marshal for this district:
           D at                                  Da.m.      Dp.m.         on
              as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D   before
          D
                       ---------------------------------------------------------------
              as notified by the United States Marshal.
          D   as notified by the Probation or Pretrial Services Office.


                                                               RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                                    to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                     By ________~~~~~~~~~~---------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                   11 CRS84S-AJB
